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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

    MICHAEL PELTIER and                               §
    KELLY PELTIER                                     §
                                                      §
           Plaintiffs,                                §
                                                      §            CASE NO. 3:17-cv-00202
    v.                                                §
                                                      §
    STGJ ENTERPRISES, LLC D/B/A                       §
    SMI AGENCY, LERETA, LLC, and                      §
    WRIGHT NATIONAL FLOOD                             §
    INSURANCE,                                        §
                                                      §
           Defendants.                                §

                         JOINT MOTION TO STAY MOTIONS AND
                             RESET RULE 16 CONFERENCE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

          COMES NOW, Plaintiffs MICHAEL PELTIER and KELLY PELTIER (“the

Peltiers”), Defendant STGJ Enterprises LLC d/b/a SMI Agency (“SMI”), Defendant

LERETA, LLC (“LERETA”), and Defendant WRIGHT NATIONAL FLOOD

INSURANCE COMPANY (“Wright”), for the purpose filing this Joint Motion to Stay

Pending Motions and Reset the Rule 16 Conference.

                                                       I.

          The parties have agreed to mediate this case within the next sixty (60) days. In the

interest of economy, the parties respectfully ask this Court to (1) stay submission of the

pending motions,1 including any response or reply deadlines, by sixty (60) days and (2)

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 [Doc. 22] (plaintiff’s motion to remand); [Doc. 28] (Wright’s Motion to Dismiss First Amended Complaint); [Doc.
29] (Wright’s Motion to Dismiss First Amended Cross Claim); [Doc. 31] SMI’s Motion for Leave to Amend]; [Doc.

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reset the Rule 16 Conference currently set for October 3, 2017 until at least December 5,

2017. The parties will jointly notify the Court within sixty (60) days as to the status of

mediation and whether the case settled.

        WHEREFORE, the parties respectfully request that this Court enter an order:

        (1)      Staying submission of the pending motions, specifically, [Doc. 22], [Doc.

                 28], [Doc. 29], [Doc. 31], [Doc. 40], and [Doc. 41], until at least December

                 5, 2017;

        (2)      Staying any response or reply deadlines to said motions until at least

                 December 5, 2017; and

        (3)      Resetting the Rule 16 Conference until after December 5, 2017.

The parties further request any other relief to which they may show themselves justly

entitled.




40] (Lereta’s Partial Motion to Dismiss First Amended Complaint); [Doc. 41] (Lereta’s Partial Motion to Dismiss
First Amended Crossclaim).

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                               Respectfully submitted,

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                            CERTIFICATE OF SERVICE

        I hereby certify that on September 25, 2017, a true copy of the foregoing document
was served upon all parties or their attorneys contemporaneously with or before the filing
of this pleading, in a manner authorized by Federal Rule of Civil Procedure 5(b)(1), using
this Court’ CM/ECF system.

                                         /s/ Bradley K. Jones
                                         Bradley K. Jones




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